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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    4:10-CR-00233-01-BRW

MARVIN GAY YOUNG, et al.

                                             ORDER

       Pending is Defendant’s Motion to Dismiss for Violation of the Speedy Trial Act (Doc.

No. 56). Defendant contends that:

       [a]lthough he has been in the custody of the United States Marshals Service since at
       least May 21, 2010, he was not brought before this Court for arraignment until
       June 28, 2012, just over 25 months. As he was in federal custody since the
       Indictment was issued, no part of this delay is attributable to [him]. Accordingly, the
       government has failed to comply with the requirements of 18 U.S.C. § 3161,
       requiring dismissal.1

       As Defendant points out, he was arraigned in this Court on June 28, 2012. Under

18 U.S.C. § 3161, Speedy Trial begins to run on the date when an indictment was filed, or from

date on which the defendant appeared before a judicial officer in the court where the charge is

pending, whichever date occurs last.2 Because Defendant was arraigned on June 28, 2012, and

because any delay in commencing the trial of this case is excludable under the Speedy Trial Act,3


       1
        Doc. No. 56.
       2
        18 U.S.C. § 3161 reads, in relevant part:

       (c)(1) In any case in which a plea of not guilty is entered, the trial of a defendant
       charged in an information or indictment with the commission of an offense shall
       commence within seventy days from the filing date (and making public) of the
       information or indictment, or from the date the defendant has appeared before a
       judicial officer of the court in which such charge is pending, whichever date last
       occurs.
       3
         Doc. No. 52. Any delay caused the granting of co-Defendant Gregory Wilson’s motion
to continue is excludable under 18 U.S.C. § 3161(h)(1)(6).

                                                 1
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there has been no violation of the Speedy Trial Act. Accordingly, Defendant’s Motion is

DENIED.

       IT IS SO ORDERED this 30th day of August, 2012.



                                                /s/Billy Roy Wilson
                                        UNITED STATES DISTRICT JUDGE




                                              2
